                            UNITED STATES BANKRUPTCY COURT
                                             District of Kansas
                                        167 United States Courthouse
                                             Wichita, KS 67202

Judge Nugent
Bankruptcy Judge
                                                March 5, 2019




Edward Nazar, Hinkle Law Firm LLC, 1617 N Waterfront Parkway, Suite 400, Wichita, KS 67206-6639
Christopher Borniger, Office of the United States Trustee, 301 N. Main St, Suite 1150, Wichita, KS 67202


        In re: RADER LODGE INC; Case No. 19-10128-11;


Dear Counsel:

        The referenced case has been set for trial on a 2 day stacking docket, beginning on March 19,
2019 at 9:00 A.M. This will serve as your reminder of the trial setting and that the following requirements
must be met prior to the date of the trial.

        1. The Bankruptcy Clerk's office will be contacting you within a few days. You should,
however, contact the clerk's office if you have any information in regards to settlements or complications.
The clerk's office must be informed at least 48 hours prior to the commencement of the trial concerning an
agreed journal entry of settlement. If a journal entry is not submitted within that time frame, you must
appear to announce the settlement for the record.

        2. Continuances will not be granted upon stipulation of counsel, but may be allowed upon timely
motion and by order of the Court under exceptional circumstances for good cause shown. See U.S.D.C.
Local Rule 6.1(b).

        3. All exhibits must be copied, marked and listed on an exhibit sheet* prior to trial time in
compliance with U.S. Bankr. Local Rule 9072.1. Exhibits should be placed in a 3-ring binder, each exhibit
tabbed, and multi-page exhibits shall be paginated. The Court may decline to admit any exhibits not
complying with the above.

        Note: Copies of all exhibits are required three (3) business days in advance of trial. The
        Court requires three (3) complete sets of copies. Additionally, one complete set must be
        provided for each party.

        4. Trial briefs may be submitted to the Court. All briefs must be submitted in accordance with the
deadlines set out in the Pretrial Order or other order of the Court. Briefs must be submitted at least seventy-
two (72) hours before the scheduled trial and served on opposing counsel.

        This trial is set on a stacking basis. You should contact Annette Albright, Erica
        Diamond or Marnie Bourbonnais prior to your trial date to ascertain the date and
        time your trial is expected to be heard.


                                                       Sincerely yours,

                                                       s/ Robert E. Nugent
                                                       Robert E. Nugent
                                                       U.S. Bankruptcy Judge

*Note enclosure: Sample exhibit sheet
               Trial List




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                 MISCELLANEOUS STACKING TRIALS
         Before Hon. Robert E. Nugent - Room 150, U.S. Courthouse
         MARCH 19, 2019 beginning at 9:00 a.m. and continuing until
          MARCH 20, 2019 beginning at 9:00 a.m. until concluded

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HARD SET FOR MARCH 20, 2019 AT 9:00 A.M.

SCHEPMANN                  12           18-11771                           1 HOUR

Issue: Confirmation of Chapter 12 Plan
Counsel: W. Thomas Gilman/Debtors; Carl Davis/Trustee;
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RADER LODGE, INC           11           19-10128                           ½ DAY

Issue: United States Trustee’s Emergency Motion to Dismiss and Response by Debtor
Counsel: Edward Nazar/Debtor; Christopher Borniger/United States Trustee


PROVOST                    13           18-10594                           1 HOUR

Issue: Confirmation of First Amended Chapter 13 Plan and Objection by Trustee and
Wells Fargo Bank N.A.
Counsel: Jeffrey Willis/Debtors; Carl Davis/Trustee; Richard Beheler/Wells Fargo Bank
N.A. dba Wells Fargo Dealer Services


BARLES                     13           18-11527                           1 HOUR

Issue: Confirmation of Chapter 13 Plan and Objections by Trustee
Counsel: William Zimmerman/Debtors; Carl Davis/Trustee;


FOSTER                     13           18-11974                           1 HOUR

Issue: Confirmation of Chapter 13 Plan and Objections by Trustee and 21st Mortgage
Corporation;
Counsel: James McIntyre/Debtors; Carl Davis/Trustee; Sharon Stolte/21st Mortgage
Corporation




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                                          EXHIBIT SHEET

CASE NAME:              ______________________________________
CASE NO:                ______________________________________
ADVERSARY NO: ______________________________________

EXHIBITS SUBMITTED BY:

______________________________                Attorney for:     ______________________________

TRIAL DATE:            _______________________________________


  NO.                DESCRIPTION                       ID       OFF       ADM           DISPOSITION




NOTE: Plaintiffs or movants must use numerical symbols. Defendants or respondents must use
alphabetical symbols. The Court requires three (3) complete sets of exhibits, three (3) days in advance of
trial.




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